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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                              MACON DIVISION

DWIGHT D. YORK,                      *

      Petitioner                     *
                                         Case No. 5:02-CR-27-001 (CAR)
vs.                                  *

UNITED STATES OF AMERICA,            *

      Respondent                     *

                              J U D G M E N T

      Pursuant to this Court’s Order dated July 29, 2009, and for the

reasons   stated   therein,   JUDGMENT   is   hereby   entered   in   favor   of

Respondent.

      This 29th day of July, 2009.

                                  Gregory J. Leonard, Clerk


                                  s/ Amy N. Stapleton
                                  Deputy Clerk
